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                                                                                          E-FILED
                                                       Wednesday, 15 December, 2021 11:15:05 PM
                                                                     Clerk, U.S. District Court, ILCD

                      UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF ILLINOIS
                          SPRINGFIELD DIVISION

UNITED STATES OF AMERICA,                )
                                         )
      Plaintiff,                         )
                                         )
      v.                                 )     CASE NO: 19-CR-30067-RM-TSH
                                         )
TODD SHEFFLER,                           )
                                         )
      Defendant.                         )

       PETITION FOR WRIT OF HABEAS CORPUS AD TESTIFICAND

      NOW COMES Defendant, Todd Sheffler, and for his Petition for Writ of

Habeas Corpus ad Testificand, states as follows:

      1.     Thomas Hess, date of birth November 25, 1984, is currently detained

in Illinois River Correctional Center, 1300 W. Locust Street, P.O. Box 999, Canton,

Illinois 61520, and that his Inmate Number is Y27233.

      2.     Mr. Hess is a necessary witness in the above-captioned case. He was

present and witnessed the decedent being beaten in this matter. Mr. Hess’s

presence is required for testimony at trial in the Central District of Illinois at 151

U.S. Courthouse, 600 E. Monroe Street, Springfield, Illinois 62701 and he must

appear on January 3, 2022 at 9:00 a.m. at the U.S. Marshal’s Office, 600 E. Monroe

Street, Springfield, Illinois, and remain in the custody of the U.S. Marshals until

the conclusion of his testimony before the Honorable Sue Myerscough in Courtroom

1.
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        WHEREFORE Defendant, Todd Sheffler, respectfully moves this Honorable

Court for an Order directing the issuance of a Write of Habeas Corpus ad

Testificand in this case directed to the following custodian:

             Illinois River Correctional Center
             Warden Tiffanie Clark
             1300 W. Locust Street
             P.O. Box 999
             Canton, Illinois 61520

Commanding the custodian to produce the body of the person before this Court at

9:00 a.m. on January 3, 2022, in the United States Marshal’s office in Springfield,

Illinois, and that when the proceeding in this case has been concluded, that the

person be returned forthwith to the institution from which the person was brought,

and granting any other such and further relief as this Court deems reasonable and

just.

                                        Respectfully submitted,

                                        Todd Sheffler, Defendant


                                 By:    /s/ Sara M. Vig
                                        Attorney for Defendant



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                            CERTIFICATE OF SERVICE

       I hereby certify that on December 15, 2021, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system, which will send notification

of such filing to the following:


       Assistant U.S. Attorney Timothy Bass          tim.bass@usdoj.gov
       Assistant U.S. Attorney Victor Yanz           victor.yanz@usdoj.gov




                                        /s/ Sara M. Vig
                                        Attorney for Defendant
